IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

NEW ALBANY DIVISION
In re: ) Chapter 11
EASTERN LIVESTOCK CO., LLC Case No. 10-93904-BHL-11
Debtor. Hon. Basil H. Lorch TI

CERTIFICATE OF MAILING

I, James H. Myers, state as follows:

1. I am over eighteen years of age and I believe the statements contained herein are
true based on my personal knowledge. I am employed by BMC Group, Inc. whose business
address is 300 N. Continental Boulevard, Ste. 570, El Segundo, California 90245.

2. At the direction of Faegre Baker & Daniels, Counsel for James A. Knauer,
Trustee in the above-captioned case, the document identified below by docket number was
served on the parties as set forth below in Exhibit “A” at the addresses shown thereon and via the
mode of service indicated thereon, on December 12, 2014:

Docket MOTION TO COMPROMISE AND SETTLE AND NOTICE OF
No. 2695 OBJECTION DEADLINE (James Edward Edens, IV, E4 Cattle
Company, LLC, and Fifth Third Bank)

[Re: Docket No. 2694]
Mf

page ! of 4
Case 10-93904-BHL-11 Doc 2697 Filed 12/15/14 EOD 12/15/14 14:16:41 Pg2of4

Exhibit “A” Address List regarding Docket Nos. 2695
e Those post-confirmation parties who have requested
special notice are referenced in Service List 58580
e The post-confirmation Core Parties are referenced in
Service List 58581
e The Affected Parties are referenced in Service List 58582

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

Executed on the/‘* | Gay of December 2014 at Paramount, California.

Ce VY Phew,

James H. Myers

page 2 of 4
Case 10-93904-BHL-11 Doc 2697 Filed 12/15/14 EOD 12/15/14 14:16:41 Pg3of4

EXHIBIT A

page 3 of 4
Eastern Livestock
Total number of parties: 15

Exhibit A - Eastern Livestock

Svc Lst Name and Addrass of Served Party Mode of Service

58580 OEITZ, SHIELDS & FREEBURGER, LLP, SANDRA D. FREEBURGER, (RE: ATTY FOR ANNA GAYLE GIBSON & —_—US Mall (1st Class)
GIBSON FARMS, LLC), 101 FIRST STREET, P.O. BOX 21, HENDERSON, KY, 42419-0021

58582 ED EDENS IV, 4724 HWY 32, PO BOX 570, OKOLONA, MS, 38860-0570 US Mall (1st Class)

§8582 FIFTH THIRD BANK, C/O RANDALL D LATOUR ESQ, VORYS SATER SEYMOUR & PEASE LLP, 52 EASTGAY US Mall (1st Class)
ST, PO BOX 1008, COLUMBUS, GH, 43215

58582 FIFTH THIRD BANK, 1225 17TH ST, DENVER, CO, 80202 US Mall (ist Class)

§8582 ICE MILLER LLP, (RE: ED EDENS IV), BEN T. CAUGHEY, ONE AMERICAN SQUARE, SUITE 2900, US Mail (1st Class)
INDIANAPOLIS, IN, 46282-0200

58581 INTERNAL REVENUE SERVICE, PO BOX 7346, PHILADELPHIA, PA, 19101-7346 US Mail (1st Class)

58580 LOUISE CERNOCH, JR., 6711 GREEN MEADOW LANE, TERRELL, TX, 75160 US Mail (1st Class)

58580 ROY DEPOLLITE, 112 HALL RD, MONROE, TN, 38573-6035 US Mall {1st Glass)

§8582 STRAUSS TROY CO., LPA, (RE: ED EDENS IV), STEPHEN E. SCHILLING, THE FEDERAL RESERVE US Mail (1st Glass)
BUILDING, 150 EAST FOURTH ST, FOURTH FLOOR, CINCINNATI, OH, 45202-4018

58582 STRAUSS TROY CO., LPA, (RE: ED EDENS IV), THOMAS P GLASS, THE FEDERAL RESERVE BUILDING, 150 —_—-US Mall (1st Class)
EAST FOURTH ST, FOURTH FLOOR, CINCINNATI, OH, 45202-4018

58582 STRAUSS TROY CO., LPA, (RE: ED EDENS IV), WILLIAM K. FLYNN, THE FEDERAL RESERVE BUILDING, 150 —_‘ US Mall (1st Class)
EAST FOURTH ST, FOURTH FLOOR, CINCINNATI, OH, 45202-4018

§8581 TUCKER HESTER BAKER & KREBS, LLC, CHRISTOPHER E BAKER, (RE: CAPITOL INDEMNITY US Mall (1st Class)
CORPORATION), REGIONS TOWER/SUITE 1600, ONE INDIANA SQUARE, INDIANAPOLIS, IN, 46204

58581 TUCKER HESTER BAKER & KREBS, LLC, NICCOLE R. SADOWSKI, (RE: CAPITOL INDEMNITY US Mall (1st Glass)
CORPORATION), REGIONS TOWER/SUITE 1600, ONE INDIANA SQUARE, INDIANAPOLIS, IN, 46204

58581 U.S. TRUSTEE, 101 W OHIO STREET, SUITE 1000, INDIANAPOLIS, IN, 46204 US Mall (1st Glass)

58582 W. SCOTT NEWBERN, PL, (RE: ED EDENS IV), WALTER SCOTT NEWBERN, 2982 EAST GIVERNY CIRCLE, US Mall (1st Class)

TALLAHASSEE, FL, 32309

Subtotal for this group: 15

Eastern Livestock

page 4 of4
